Case 2:02-cr-20032-.]DB Document 84 Filed 06/14/05 Page 1 of 3 Page|D 91

 

FW£DIN
IN THE UNITED sTATEs DISTRICT CoURT n.c_
FoR THE wEsTERN DISTRICT oF TENNEssEE O¢¢JU£
wEsTERN DIvIsIoN " "'H¥ PH ?.-
- 157
[`.r~\r~,..m_
"V£J;_I'H :..: : < ~_.,
Cf..sv< ";`a~ ~” IFFGL!O
‘ nw
W_D. oF~ Tw, i,:.g"},;p&g

UNITED STATES OF AMERICA,
Plaintiff,

vs. No. 02-20032-(G)B

CAS SANDRA LYNN MAXWELL ,

Defendant.

><>-<>-<><><>-<>~<>-<>-<>-<>-<

 

ORDER DENYING IRREGULAR CRIMINAL MOTIONS

 

On August 24, 2004, defendant Cassandra Lynn Maxwell,
Bureau of Prisons inmate registration number 18166-076, an inmate
at the Federal Prison Camp in Alderson, West Virginia, filed an
irregular pro se motion in her closed criminal case, entitled
“Freedom of Information ACt/Privacy Act Appeal to Compel Designated
Agencies/Attorneys to Release FOIA/Privacy Documentation to
Petitioner Expediently for Preparations of Post Conviction Relief
or Any Other Future Litigations.” A variety of documents are
attached to this motion, including what appears to be a motion for
an extension of time to file a motion pursuant to 28 U.S.C. § 2255.

This prisoner's motion does not specify the material she
seeks or the individuals or entities from.whom she seeks materials,
making it impossible for the Court to evaluate the substance of her

motion. Moreover, as Maxwell filed a motion pursuant to 28 U.S.C.

Tmsdocumsntenmred0niheducketshaewncpn1Hance €y/
With F!ule 55 and/ch 32(b) FRCrP on ZQ '/5’0\.)

Case 2:02-cr-20032-.]DB Document 84 Filed 06/14/05 Page 2 of 3 Page|D 92

§ 2255 on September 16, 2004, her request for an extension of time

is moot. Accordingly, defendant's motion is DENIED.

t <e\

IT Is so oRDERED this §f` day cf June, 2005.

 

. ANIEL BREEN \\E
UNI D sTATEs DISTRI T JUDGE

 

W'EsEm\rT

Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
case 2:02-CR-20032 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Robert C. Brooks

LAW OFFICE OF ROBERT C. BROOKS
P.O. Box 771558

i\/lemphis7 TN 38177

Honorable J. Breen
US DISTRICT COURT

